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IN THE UNITED STATES DISTRICT COURT me ”
FOR THE NORTHERN ILLINOIS DISTRICT OF ILLINOIS EE ay
EASTERN DIVISION cer:

JAMES PRINCIPLE
Plaintiff,
VS. CASE NO. 01 C7716
JUDGE LEINWEBER
LARRY SHERMAN,
Defendant.

TO: Timothy P. Donohue
Attorney at Law
29 S. LaSalle Street
Suite 829
Chicago, Illinois 60603

NOTICE OF MOTION

x
On Oerunse 23 , 2002, at 9 «304.M. or as soon thereafter as counsel may
be heard, we shall appear before Honorable Judge Leinweber in Courtroom 1946 at the
courthouse located at the Dirksen Federal Building, 219 S$, Dearborn, Chicago, Illinois and shall
then and there present the attached Motion to Dismiss and/or Leave to File Third Party
Complaint.

C RZ

Attorney for Defendant

GOLDSTEIN & LAMB, P.C. ¢! ere
162 W. HUBBARD yt wl
CHICAGO, ILLINOIS, 66610 1 282
(312) 822-1000 0

FIRM NO. 03911

CERTIFICATE OF SERVICE

The undersigned certifies that a copy of this notice and the attached instrument was [ ] mailed J ]
faxed [X] delivered to the above named parties at the above described address on October 18,

2002, Ce /
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IN THE UNITED STATES DISTRICT COURT viv
FOR THE NORTHERN ILLINOIS DISTRICT OF ILLINOIS... ., ...,, -

 

EASTERN DIVISION ee OTE
JAMES PRINCIPLE Cis
Plaintiff, :
VS. CASENO. 01C 7716
JUDGE LEINWEBER .
LARRY SHERMAN DOCKETE i
Defendant.
OCT 2 8 2002

MOTION TO DISMISS COMPLAINT FOR LACK OF STANDING PURSUANT TO
RULE 12 (b) (6) AND/OR FOR SUMMARY JUDGMENT PURSUANT TO RULE 56 OR
IN THE ALTERNATIVE TO FILE COUNTERCLAIM

Now Comes the DEFENDANT, LARRY SHERMAN, through his attorneys
GOLDSTEIN AND LAMB, P.C., moves this court to Dismiss Plaintiff's Complaint and in
support of his motion states the following:

MOTION TO DISMISS FOR LACK OF STANDING PURSUANT TO RULE 12 (b) (6)
AND/OR FOR SUMMARY JUDGMENT PURSUANT TO RULE 56

1. That this matter is a copyright infringement claim against LARRY SHERMAN
(“DEFENDANT”), individually as it relates to a song written in part by JAMIE
PRINCIPLE a/k/a BRYAN WALTON, (“PLAINTIFF”).

2. That the song at issue in PLAINTIFF’S Complaint is titled “Your Love”, (“SONG”).

3. That PLAINTIFF assigned his copyright ownership to SONG, and all rights of every kind
and character in and to SONG to GREEN STREET MUSIC on April 1, 1986. A copy of
said assignment is attached hereto as (Exhibit “A”).

4, That on May 21, 1987, GREEN STREET MUSIC transferred all copyright ownership of
SONG to Last Song, Inc. (Exhibit “B”)

5. That by a Mutual Release and Settlement Agreement dated May 20, 1989, between Last
Song, Inc. and Steve Hurley, the copyright in SONG was assigned to Steve Hurley.
(Exhibit “C”)

6. Than on May 23, 1989, Steve Hurley re-assigned SONG to Echo Music, Inc. (“ECHO”).
(Exhibit “D”)

7. That sometime in 1995, ECHO filed a copyright infringement lawsuit against
DEFENDANT, in Great Britain regarding alleged infringement of SONG. Attached
Exhibit “H” is a copy of the Affidavit of Stuart John McNicol Bond Filed in the High
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10.

11.

12.

13,

14.

Court of Justice, Chancery Division in the matter of Echo Music Group, Inc, and Larry
Sherman and Leosong Copyright Management Limited Case # CH 1991- E- No.

That on June i, 1995, ECHO and Defendant entered into a Settlement Agreement
regarding the alleged copyright infringement of SONG settling ECHO’s rights with
respect to “Your Love “.(Exhibit “E”)

Said agreement does not re-assign a copyright in the SONG to the PLAINITFF.
That according to F.E.L. Publications, LTD v. National Conference of Cathelic
Bishops, 466 F. Supp. 1034, (1978), two elements are necessary to establish a prima facie

case of copyright infringement:

1, Ownership of a valid copyright, and;
2. Copying by the alleged infringer.

That at all relevant times alleged in PLAINTIFF’S complaint, ECHO was the owner of
the copyright to SONG.

That ECHO continues to own the copyright to SONG.

That at no time did ECHO ever transfer or assign copyright ownership to SONG back to
PLAINTIFF.

That PLAINTIFF does not have standing to bring this case against DEFENDANT as
PLAINTIFF assigned the copyright to SONG, and therefore this case should be
dismissed.

WHEREFORE, this Honorable Court should dismiss PLAINTIFF’S complaint with prejudice,
and award DEFENDANT costs and attorney fees in this matter.

15.

16.

ALTERNATIVE MOTION
FOR LEAVE TO FILE COUNTER CLAIM AGAINST ECHO
& FRANKIE KNUCKLES

That DEFENDANT reincorporates and realleges paragraphs one through fourteen of the
Motion to Dismiss as if fully alleged and incorporated as paragraph one through fourteen
of this Alternative Motion and states as follows.

That after the Settlement Agreement between ECHO and DEFENDANT was signed, a
company with a similar name to ECHO allegedly assigned their right to sue the
DEFENDANT back to PLAINTIFF. (Exhibit “F’’)
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17. That this alleged assignment was done by ECHO and this lawsuit is brought in bad faith
and contrary to the terms of the Settlement Agreement reached by Larry Sherman and
Echo Music Group, Inc.

18. That ECHO should be liable to pay any damages assessed by this court, since accord was
previously reached in this matter between Larry Sherman and ECHO settling all disputes
arising from the facts alleged in this complaint relating to publishing rights.

19. Further, DEFENDANT originally filed with his Motion to Vacate Default, a copy of
DEFENDANT’S written agreement with Frankie Knuckles for the assignment of rights
to the SONG. (Exhibit “G”)

20, That said Agreement contains indemnity language and or there is a basis for a breach of
contract action against Frankie Knuckles.

2]. That in the event this court determines that the PLAINITFF has standing, PLAINITFF
requests leave to file two 3™ Party complaints and a Counterclaim against PLAINITFF
AND FRANKIE KNUCKLES and ECHO.

WHEREFORE, DEFENDANT requests this Honorable Court, if it does not dismiss

PLAINTIFF’S Complaint pursuant to his Motion to Dismiss, enter an order granting
DEFENDANT leave to file APPROPRIATE 3" Party Claims and a Counterclaim.

Respectfully Submitted,

EIN AND LAMB. P.C
BO
Plaintiffs Attorneys

 

GOLDSTEIN AND LAMB P.C.
162 W. HUBBARD

CHICAGO, IL 60610
312-822-1000
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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN ILLINOIS DISTRICT OF ILLINOIS

EASTERN DIVISION
JAMES PRINCIPLE
Plaintiff,
YS. CASE NO. 01C 7716
JUDGE LEINWEBER
LARRY SHERMAN
Defendant.

AFFIDAVIT OF LARRY SHERMAN

Now comes Larry Sherman and under oath swears the following:

1. That I am the Defendant in this matter.

2. That I have read the facts in this Motion and these facts are true and correct to the
best of my knowledge.

3. That I have reviewed alli of the attached documents in this Motion and to the best

of my knowledge they are true and correct copies of said documents.
4, That if called to testify to the facts contained in this Motion, J shall do so.

FURTHER AFFIANT SAYETH NAUGHT

a
LARRY SHERMAN-—-————_>

Suscribed and Sworn to me this

18" day of October 2002.

  
   

 

  
 

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